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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                     Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                       Case No. 22-17842-PDR
                                                               (Jointly Administered)
             Debtors.1
                                                      /

    VITAL PHARMACEUTICALS, INC., and
    JHO INTELLECTUAL PROPERTY
    HOLDINGS, LLC,

                    Plaintiffs,

    v.

    ORANGE BANG, INC., and MONSTER
    ENERGY COMPANY,                                            Adv. Pro. No.

                    Defendants.
                                                      /


         DEBTORS’ ADVERSARY COMPLAINT FOR DECLARATORY JUDGMENT

             Vital Pharmaceuticals, Inc. (“VPX”) and JHO Intellectual Property Holdings, LLC

(“JHO”) (collectively, “Plaintiffs”), each a Debtor in the above-captioned chapter 11 cases (the

“Chapter 11 Cases”), file this complaint (this “Complaint”) against Orange Bang, Inc. (“Orange

Bang”) and Monster Energy Company (“Monster”) (collectively, “Defendants”). As the basis for

this Complaint, Plaintiffs rely on Declaration of Elizabeth A. Morris in Support of Debtors’ Motion




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    The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
    tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454);
    (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash
    Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales,
    Inc. (8019).

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for Summary Judgment and Incorporated Memorandum of Law (the “Morris Declaration”) filed

concurrently herewith and state as follows:

                                   NATURE OF THIS ACTION

         1.     The Debtors have commenced a process to market and sell their business for the

benefit of all stakeholders. In order to bring that process to a successful conclusion, the Debtors,

and bidders, need to know that the fee regime that governs the Debtors’ use of their Bang trademark

will travel to the purchaser together with the business. However, Defendants, who themselves

litigated to obtain that structure—a perpetual 5% tax payable to Defendants—have indicated they

will attempt to obstruct the sale by asserting that the fee regime cannot apply to any purchaser

unless Defendants consent. The Plaintiffs bring this action to obtain the declarations necessary to

forestall Defendants’ obstruction and ensure a successful sale process for the benefit of all

stakeholders.

         2.     In particular, Plaintiffs seek an order from this Court declaring that res judicata bars

Defendants from re-litigating the terms under which the Debtors, or any purchaser of the Debtors’

business, are entitled to use the Bang Mark. In other words, the Debtors require a declaration that

confirms exactly what Defendants previously asked for—that anyone operating the Bang energy

drink business is subject to the fee regime. In the alternative, to the extent res judicata does not

fully resolve the issues, the Debtors seek a declaration that the right to operate subject to the fee

regime is fully-transferable, including to a purchaser of all or substantially all of the Debtors’ assets

and subsequent purchasers, without the consent of Defendants.

                                  JURISDICTION AND VENUE

         3.     This Court has jurisdiction over this adversary proceeding under 28 U.S.C. §§ 157

and 1334. This is a core proceeding under 28 U.S.C. § 157(b).



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         4.     Venue is proper under 28 U.S.C. § 1409(a). This adversary proceeding is related

to the Chapter 11 Cases, which are pending in this Court.

         5.     This adversary proceeding is commenced pursuant to:

                (a)     Rule 7001(2) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), which allows for a proceeding “to determine the validity, priority, or extent

of a lien or other interest in property”;

                (b)     Rule 7001(9) of the Bankruptcy Rules, which allows for a proceeding to

obtain a declaratory judgment relating to the foregoing; and

                (c)     11 U.S.C § 105(a), which allows this Court to “issue any order, process, or

judgment that is necessary or appropriate to carry out the provisions of” title 11 of the United

States Code (the “Bankruptcy Code”).

         6.     Declaratory relief is appropriate pursuant to both Rule 7001 of the Bankruptcy

Rules and 28 U.S.C. §§ 2201 – 02 (the “Declaratory Judgment Act”).

         7.     As set forth below, an actual legal controversy exists with respect to the declaratory

relief requested herein.

         8.     Pursuant to Rule 7008 of the Bankruptcy Rules, Plaintiffs consent to the entry of a

final judgment or order with respect to this Complaint if it is determined that this Court would lack

Article III jurisdiction to enter such final order or judgment absent the consent of the parties.

                                              PARTIES

         9.     Plaintiff VPX is a Florida corporation with its principal place of business in

Weston, Florida.

         10.    Plaintiff JHO is a Florida limited liability company with its principal place of

business in Weston, Florida. Each Plaintiff is a Debtor in the Chapter 11 Cases.



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         11.   Defendant Orange Bang is a California corporation with its principal place of

business in Sylmar, California.

         12.   Defendant Monster is a Delaware corporation with its principal place of business

in Corona, California.

                                         BACKGROUND

I.       THE 2010 SETTLEMENT AGREEMENT

         13.   Plaintiff VPX and Defendant Orange Bang both sell drink products branded “Bang”

and own U.S. trademark rights to the “Bang” mark. In 2009, Orange Bang commenced an action

in the United States District Court for the Central District of California against VPX alleging, in

summary, that VPX violated the Lanham Trade-Mark Act, 15 U.S.C. § 1051 et seq. (the “Lanham

Act”) because its use of the word “Bang!” on a bodybuilding product infringed upon Orange

Bang’s trademark registrations for its own “Bang” mark (the “2009 Action”).

         14.   On August 11, 2010, VPX and Orange Bang resolved the 2009 Action by entering

into a confidential settlement agreement (the “2010 Settlement Agreement”). See Morris Decl.

Ex. 1. In general, the 2010 Settlement Agreement set forth certain permissible channels (for both

VPX and Orange Bang) for then-existing “Bang” branded products, and provided that: (i) VPX

was permitted to use VPX’s version of the “Bang” mark (the “Bang Mark”) regardless of trade

channel for products that meet certain criteria, and (ii) VPX was permitted to use the Bang Mark

within specified trade channels for products that meet other criteria. See id. In particular, the 2010

Settlement Agreement sets forth certain marketing and sales restrictions relating to the parties’

respective “Bang” marks (collectively, the “Paragraph 7 Restrictions”). See id., at ¶¶ 7A–7D.

         15.   The Paragraph 7 Restrictions provide, in relevant part:




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               (a)    Without restriction, VPX may use the Bang Mark to market and sell

“nutritionally fortified,” “creatine-based” dietary supplement and nutritional products (the

“Creatine-Based Products”). Id. ¶¶ 7A–7C.

               (b)    VPX may also use the Bang Mark to market and sell “any nutritionally

fortified beverage which enhances performance, and which is not creatine-based” (the “Paragraph

7D Products”), but only through “vitamin and nutritional supplement stores to include but not

limited to GNC, Vitamin Shoppe, other specialty vitamin and nutrition stores, gyms and health

clubs or to the vitamin and dietary supplement section only of any convenience or other stores”

(the “Nutritional Channel”). Id. ¶ 7D.

         16.   The 2010 Settlement Agreement “bind[s] and inure[s] to the benefit of the Parties

[t]hereto and their respective agents, servants and employees, their successors, predecessors and

assigns of each of them, separately and collectively.” Id. ¶ 14. VPX and Orange Bang are original

parties to the 2010 Settlement Agreement, id. § I; JHO has been adjudicated a successor-in-interest

of VPX under the 2010 Settlement Agreement, see Morris Decl. Ex. 2 Final Arbitration Award

(the “Award”) § III.X at 162; and nine years after the 2010 Settlement Agreement was executed,

and unknown to VPX at the time, Orange Bang assigned to Monster all of its rights and interest in

the 2010 Settlement Agreement, while purporting to retain all rights and interest in the Bang Mark,

including Orange Bang’s trademark rights. See Award § II.M. at 42. Notwithstanding Orange

Bang’s purported assignment of the claims related to the settlement agreement (and retention of

its trademark rights to the Bang Mark), Monster and Orange Bang agreed to split any recoveries

on all claims—including trademark-related claims—equally. See id.




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II.      VPX’S ASSIGNMENT OF THE BANG MARK

         17.   On July 13, 2017, VPX assigned the Bang Mark to JHO, with JHO becoming the

registered owner. VPX then entered into a Trademark License Agreement with JHO for the right

to use the Bang Mark. See Order Compelling Arbitration 10-11, D.C. ECF No. 50.

III.     THE ARBITRATION

         18.   On June 16, 2020, Defendants served a joint demand for arbitration upon VPX

(with JHO subsequently added) wherein Monster asserted breach of contract claims as assignee of

the 2010 Settlement Agreement and Orange Bang asserted trademark infringement claims as to

the Bang Mark. See Morris Decl. Ex. 3. Defendants asserted that Plaintiffs’ use of the Bang Mark

in connection with their line of Bang energy drink products (the “Bang Products” or “Bang

Energy”), launched after the execution of the 2010 Settlement Agreement, violated the 2010

Settlement Agreement and infringed on Orange Bang’s rights in its own “Bang” mark. See id.

         19.   The arbitration (the “Arbitration”) final hearing took place via Zoom from October

4 to October 14, 2021. See Award at 4 (Preamble). The Arbitration “[w]as administered by a

neutral third-party virtual bailiff” and considered “the evidence, exhibits, demonstratives,

testimony, and arguments of the parties.” Award at 4–5 (Preamble). The arbitrator, Bruce Isaacs

(the “Arbitrator”), also considered several closing arguments, including closing arbitration briefs,

closing reply briefs, post-hearing briefs, including a fully-briefed motion to clarify an interim

arbitration award (issued on January 6, 2022), and oral arguments post-dating the interim

arbitration award and pre-dating the final arbitration hearing. See id. Defendants assert that they

“had a full and fair opportunity to present [their] case during the eight-day hearing,” “submitted

post-hearing briefs and reply briefs, and then appeared for a second round of closing arguments

before [the Arbitrator],” whom they assert “issued a well-reasoned decision that extensively



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evaluated the evidence and applicable law.” Morris Decl. Ex. 4 (“Mot. to Confirm Award”) ¶

IV.B at 14–15.

IV.      THE AWARD

         20.     The Arbitrator issued the Final Arbitration Award (i.e., the Award) on April 4,

2022. See Award at pp. 4–5 (Preamble). The Award states that it is “a full and final adjudication

of all claims which were, or which could have been, submitted to the arbitrator by any and all of

the parties in connection with th[e A]rbitration.” Id. § V at 177.

         21.     Among the “core disputes” in the Arbitration was whether the Bang Products are

Creatine-Based Products or Paragraph 7D Products. If the Bang Products are Paragraph 7D

Products, then VPX allegedly was in breach of the 2010 Settlement Agreement by marketing and

selling the Bang Products outside the Nutritional Channel. See Award § II.F at 31. According to

the Arbitrator, even Orange Bang’s trademark-related claims turned on whether the Bang Products

are Paragraph 7D Products because the 2010 Settlement Agreement “is essentially an agreement

not to sue for trademark infringement” as long as VPX stays its “agreed upon lane.” Award § II.L

at 41 n.8. Indeed, the entire Arbitration, according to the Arbitrator, “turn[ed] on whether or not

the B[ang] Products, and VPX’s other products which make use of the B[ang] [M]ark, are

‘creatine-based’ or not, whether that results in a breach of the [] Settlement Agreement or not and

whether that rises to the level of trademark infringement or not.” Award § II.O at 44.

         22.     The Arbitrator concluded that “in order for a product to be ‘creatine-based’ within

the meaning of . . . the [] Settlement Agreement, creatine must be a fundamental, a main or a

carrying ingredient in that product.” Award § III.A at 48. The Arbitrator further concluded that

creatine was not a fundamental, a main, or a carrying ingredient in the Bang Products at issue.

Award § III.B at 57. Ultimately, the Arbitrator determined that the Bang Products are not Creatine-



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Based Products, but rather Paragraph 7D Products subject to the Paragraph 7 Restrictions. Award

§ III.F at 63.

         23.     Based on this determination, the Arbitrator awarded Defendants a choice to collect

monetary damages to “address[] the issue of past harm” relating either to Defendants’ breach of

contract claims or their trademark infringement claims. Award § III.O at 141 (emphasis in

original); see also id. § IV.A at 174 (the alternative past monetary component of the Award, which

Defendants jointly elected, awarded “past damages from VPX and JHO through September 19,

2021” as “a disgorgement of profits attributable to infringement of the B[ang] [M]ark in the

amount of $175 million.”).

         24.     The Arbitrator also issued a permanent injunction severely restricting VPX’s ability

to use the Bang Mark (the “Permanent Injunction”), an equitable remedy directed toward the Bang

Products to address “potential future harms which are separate, independent, and distinct from the

compensatory damages awarded in [the] Award to recompense [Orange Bang] for” past harm.

Award § III.O at 141. However, the Arbitrator also permitted Plaintiffs to opt for an alternative

equitable remedy (the “Continuing Fee Election”), which consists of:

                 (a)    the entry of an indefinite stay of enforcement on the Permanent Injunction

so long as Plaintiffs pay the Continuing Fee (as defined below); and

                 (b)    the creation of an obligation to pay Defendants (5%) of the Bang Products’

net sales, due quarterly (the “Continuing Fee”). See Award § III.S at 150; see also id. § IV.B at

175.

         25.     Should Plaintiffs ever fail to pay the Continuing Fee, “the Permanent Injunction

shall automatically take effect without the need for any further action by a court or by an

arbitrator.” Award § U at 157.



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          26.   In sum, the Continuing Fee Election, and the Continuing Fee Election alone, grants

Plaintiffs the right to continue using the Bang Mark so long as Plaintiffs continue to make the

quarterly Continuing Fee payments to Defendants. The Continuing Fee Election imposes no

obligation on Plaintiffs to conform to any quality standards in connection with Plaintiffs’ use of

the Bang Mark. Nor does the Continuing Fee Election impose an obligation on Defendants to

prescribe or enforce quality control standards. Orange Bang likewise has no quality control

rights—under the Continuing Fee Election or otherwise—over Plaintiffs’ use of the Bang Mark.

          27.   The Arbitrator made several findings and conclusions regarding the binding effect

of the Award on parties using the Bang Mark in connection with the Bang Energy business in the

future:

                (a)    The Arbitrator predicated imposition of liability on JHO on the conclusion

that when JHO took assignment of the Bang Mark from VPX, any use restrictions already

applicable to VPX with regard to the mark necessarily traveled to JHO. Award § III.X 164 n.48

(“JHO itself obtained its initial grant of rights regarding the Bang tradename from VPX via a 2017

assignment . . . Because JHO’s Bang rights derive from a grant of rights from VPX, and because

JHO is a successor-in-interest to VPX in this regard, JHO’s Bang rights are likewise subject to the

[use restrictions set forth in] Settlement Agreement.”). In other words, the conditions for JHO’s

use of the mark in harmony with Orange Bang’s mark transferred to JHO together with the

Debtors’ Bang Mark itself.

                (b)    The Award made the Permanent Injunction binding on Plaintiffs as well as

several other categories of persons, including any of Plaintiffs’ “officers, agents, servants,

employees, successors, and assigns, and all those persons acting in active concert or participation

with them” (the “Categories of Persons Bound”). Award § III.O at 135–36.



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                  (c)    The Arbitrator intended for “VPX and JHO and Categories of Persons

Bound to comply with the [Continuing Fee]” and thus “render[] the need for the Permanent

Injunction unnecessary in the first place.” Award § III.P at 144. Indeed, as the Arbitrator reasoned,

“corporate entities like VPX and JHO operate through living and breathing people and therefore

all of these Categories of Persons Bound should be bound by the Permanent Injunction, otherwise

the Permanent Injunction is an empty basket which provides no practical protection and does not

serve its intended purposes.” Award § III.Q at 145.

                  (d)    The Arbitrator held that determining whether a particular person “fall[s]

within the Categories of Persons Bound” was a “determination to be made by a court at the

appropriate time in a subsequent proceeding . . . because the [A]rbitrator does not have jurisdiction

to make such binding specific adjudications.” Id. (noting that “[t]he opportunity to be heard in a

subsequent proceeding will protect VPX’s due process rights in this regard.”).

V.       ENTRY OF JUDGMENT CONFIRMING AWARD

         28.      On April 6, 2022, Defendants moved in the United States District Court for the

Central District of California (the “District Court”)2 to confirm the Award. See Mot. to Confirm

Award ¶ I at 1. Under the 2010 Settlement Agreement, the District Court could only confirm the

Award if it had subject matter jurisdiction over the claim or controversy resolved by the Arbitrator.

See Settlement Agreement ¶ 18.a.        This jurisdiction was confirmed by the District Court’s

confirming the Award. See generally Morris Decl. Ex. 5 (“Order Confirming Award”).

         29.      The Award, as confirmed by the District Court, arises under and is governed by

California law.



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       The District Court Action is captioned Vital Pharms., Inc. and JHO Intellectual Prop.
Holdings, LLC v. Orange Bang, Inc. and Monster Energy Co., No. 5:20-cv-1464 (the “District
Court Action”).
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         30.   In their Motion to Confirm Award, Defendants further argued that the District Court

had subject matter jurisdiction to confirm the Award because:

               (a)      The Arbitration involved federal claims over which the District Court had

original jurisdiction; to wit: “claims for trademark infringement and false designation of origin

under the Lanham Act.” Mot. to Confirm Award ¶ IV.A.1 at 12.

               (b)      The District Court had supplemental jurisdiction over the remaining

Arbitration claims, including Defendants’ breach of contract claim, because they were “part of the

same case or controversy as” Defendants’ federal claims. Id.

         31.   On September 29, 2022, the District Court entered the Award as a judgment in the

District Court Action, see Morris Decl. Ex. 6 (the “Judgment”) at 1 (“[T]he Final Arbitration

Award entered by Bruce Isaacs . . . on April 4, 2022 . . . shall have the same force and effect as a

civil judgment rendered by this Court.”).

         32.   While Plaintiffs have appealed (the “Appeal”) the District Court’s entry of the

Judgment, see Morris Decl. Ex. 7 (“Notice of Appeal”), the fact remains that, under the current

circumstances, the Debtors are entitled to use the Bang Mark without restriction, including to

market and sell the Bang Products.

VI.      THE CHAPTER 11 CASES

         33.   On October 10, 2022, each of the Debtors commenced a case by filing a petition

for relief under chapter 11 of the Bankruptcy Code. The Debtors’ Chapter 11 Cases are being

jointly administered.

         34.   The Debtors continue to manage and operate their businesses as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108, 11 U.S.C. §§ 1107, 1108.




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          35.      On November 1, 2022, the Office of the United States Trustee (the “U.S. Trustee”)

appointed the official committee of unsecured creditors (the “Committee”) [ECF No. 245]. On

November 23, 2022, the U.S. Trustee reconstituted the Committee [ECF No. 400]. No request has

been made to the Court to order the appointment of a trustee or examiner.

          36.      On January 12, 2023, the Court entered a final order (the “Final DIP Order”) [ECF

No. 638] authorizing the Debtors to obtain postpetition financing under the Superpriority Secured

Debtor-in-Possession Credit Agreement (the “DIP Agreement”). To avoid an event of default

under the DIP Agreement, the Debtors are required to achieve certain milestones (the “DIP

Milestones”), including, among other things, designating a stalking horse bidder on or before

March 13, 2023, holding an auction, if necessary, on or before April 19, 2023, and closing a sale

of all or substantially all of the Debtors’ assets on or before May 17, 2023. See Final DIP Order

¶ 46; Final DIP Order, Ex. B (DIP Agreement) § 5.18.

          37.      On January 27, 2023, in accordance with the DIP Milestones the Debtors filed the

Bid Procedures Motion,3 seeking, among other things, authority to sell all or substantially all of

the Debtors’ assets upon the conclusion of the Debtors’ marketing and sale process. This Court

has scheduled a hearing on the Bid Procedures Motion for February 23, 2023, at which hearing the

Court will consider approval of proposed bidding procedures, pursuant to which the Debtors will

solicit and select the highest or otherwise best offer for their assets.




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    Debtors’ Motion for an Order (I) Approving (A) Bidding Procedures for the Sale of Substantially All of the Debtors’
    Assets, (B) Procedures for the Debtors’ Assumption and Assignment of Certain Executory Contracts and Unexpired
    Leases, (C) the Form and Manner of Notice of the Sale Hearing, Assumption Procedures, and Auction Results, (D)
    Dates for an Auction and Sale Hearing, (E) the Sale of Substantially All of the Debtors’ Assets Free and Clear of
    All Claims, Liens, Liabilities, Rights, Interests and Encumbrances, and (F) the Debtors’ Assumption and Assignment
    of Certain Executory Contracts and Unexpired Leases, (II) Authorizing the Debtors to Provide Bid Protections, and
    (III) Granting Related Relief [ECF No. 707]

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         38.    As stated in the Bid Procedures Motion, the Debtors are seeking authority to sell

all or substantially all of their assets. See ECF No. 707. The Bang Products account for roughly

95% of the Debtors’ total sales, making them the Debtors’ best-selling products. Accordingly,

Plaintiffs’ interest in the Bang Mark, including the scope of Plaintiffs’ rights under the Continuing

Fee Election, are essential in order for any potential purchaser to value the Debtors’ business in

connection with the Debtors’ sale process. Defendants’ threat of new litigation will likely

meaningfully and adversely affect the amount that any potential buyer will be willing to offer for

the business.

VII.     URGENCY OF RELIEF

         39.    Time is of the essence. The Bid Procedures Motion seeks to establish March 13,

2023 as the deadline for the Debtors to seek approval of a Stalking Horse Bid (as defined in the

Bid Procedures Motion) and April 11, 2023 as the deadline for interested parties to submit bids.

It is imperative that potential Stalking Horse Bidders and other interested parties have certainty

with respect to application of the Continuing Fee Election and use of the Bang Mark. Without

such certainty prior to the above deadlines, the entire sale process may be impaired.

                                 RESERVATION OF RIGHTS

         40.    Plaintiffs file this Complaint with full reservation of rights with respect to the

District Court Action and/or Appeal. The assertion of any claims pursuant to this Complaint is not

intended as, and should not be deemed or construed as, a waiver of any position asserted by

Plaintiffs in the District Court Action and/or the Appeal.




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                                            COUNT I

                             DECLARATORY JUDGMENT
(Orange Bang and Monster are precluded from re-litigating issues resolved by the Award)

         41.    The allegations set forth in Paragraph 1 through Paragraph 39 are incorporated by

reference as if set forth fully herein.

         42.    An actual legal and substantial controversy exists as to whether Defendants are

precluded from arguing that a buyer of the Debtors’ assets may continue to use the Bang Mark

subject to the terms and conditions of the Continuing Fee Election.

         43.    This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act.

         44.    The District Court confirmed and entered the Award, including the Continuing Fee

Election, as the Judgment in the District Court Action.

         45.    Any claims relating to the use of the Bang Mark to market or sell the Bang Products

by purchaser(s) or subsequent purchaser(s) of all or substantially all of the Debtors’ assets (or the

Continuing Fee Election alone) would equate to the same case or controversy adjudicated by the

Arbitration and resolved by the Award and the entry of the Judgment:

         46.    The Award, as confirmed by the Judgment, also fully resolved any of Defendants’

prospective claims as to, and quantified any damages that could arise from, the use of the Bang

Mark by Plaintiffs and their privies to market and sell the Bang Products in the future.

         47.    Moreover, any purchaser(s) or subsequent purchaser(s) of all or substantially all of

the Debtors’ assets (or the Continuing Fee Election alone) would be in privity with Plaintiffs as to

the Arbitration and the Award, as confirmed by the Judgment.

         48.    Accordingly, Plaintiffs are entitled to a declaratory judgment that Defendants are

precluded from arguing that purchaser(s) or subsequent purchaser(s) of all or substantially all of


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the Debtors’ assets, including purchaser(s) or subsequent purchaser(s) of the Continuing Fee

Election itself, cannot use Bang Mark in accordance with the terms of the Award, as confirmed by

the Judgment.

                                            COUNT II

                                  DECLARATORY JUDGMENT
  (Debtors may sell, assign, or otherwise transfer the Continuing Fee Election Without the
                                   Consent of Defendants)

         49.    The allegations set forth in Paragraph 1 through Paragraph 39 are incorporated by

reference as if set forth fully herein.

         50.    To the extent res judicata does not fully resolve application of the Award, as

confirmed by the Judgment, to a purchaser or subsequent purchaser of the Debtors’ assets, an

actual legal and substantial controversy exists as to whether Plaintiffs may sell, assign, or

otherwise transfer their interest in the Continuing Fee Election under Bankruptcy Code § 363,

including to a purchaser of all or substantially all Debtor assets, without Defendants’ consent.

         51.    This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act.

         52.    The District Court has confirmed and entered the Award, including the Continuing

Fee Election, as the Judgment in the District Court Action.

         53.    Bankruptcy Code § 363 allows the Debtors, after giving proper notice, to sell

property of the Debtors’ estates outside the ordinary course of business.

         54.    The Debtors’ estates include “all legal or equitable interests of the debtor in

property as of the commencement of the case.” 11 U.S.C. § 541(a)(1).

         55.    The Award, as confirmed by the Judgment, entitles Plaintiffs to continue to use the

Bang Mark in connection with the marketing and sales of the Bang Products based on Plaintiffs’

own election: the Continuing Fee Election. As such, the Continuing Fee Election is an equitable

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interest in the Bang Mark that is held by the Debtors and was in existence prior to the

commencement of the Chapter 11 Cases. See, e.g., In re Tradewinds Airlines, Inc., No. 08-20394-

(AJC), 2009 WL 393858, *2 (Bankr. S.D. Fla. Feb. 10, 2009) (“The Default Judgment and the

right to attempt to collect on the Judgment are [estate] property.”); In re Merchants & Farmers

Bank v. L & T Constr., Inc., NO. 3:09-cv-582 (S.D. Miss. June 9, 2010) (stating that an arbitration

award was property of the debtor’s estate).

         56.   As an interest belonging to the Debtors’ estates, the Debtors may sell, assign, or

otherwise transfer their interest in the Continuing Fee Election under Bankruptcy Code § 363,

including to a purchaser of all or substantially all Debtor assets, without Defendants’ consent.

         57.   In the alternative, if the Continuing Fee Election is deemed an executory contract,

the Debtors may assume and assign the Continuing Fee Election to a purchaser of all or

substantially all Debtor assets without the consent of Defendants.

         58.   The Continuing Fee Election grants Plaintiffs a right to preserve the stay of

enforcement of the Permanent Injunction.         This right is exercisable by making quarterly

Continuing Fee payments to Defendants.

         59.   The Continuing Fee Election imposes only one obligation on Plaintiffs: that

Plaintiffs continue to pay the Continuing Fee in accordance with the terms of the Award, as

confirmed by the Judgment.

         60.   The Award, as confirmed by the Judgment, does not permit Defendants to revoke

or modify the Continuing Fee Election, nor does it impose any obligations on Plaintiffs other than

to pay the Continuing Fee.

         61.   Accordingly, to the extent the Continuing Fee Election is deemed an executory

contract, so long as the purchaser provides adequate assurance that it will continue to pay the



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Continuing Fee, the Debtors may assume and assign the Continuing Fee Election without the

consent of the Defendants pursuant to Bankruptcy Code § 365.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests this Court enter an order in substantially the form

of the Proposed Order submitted herewith:

    a) confirming through a declaratory judgment that Defendants are estopped from claiming

         that purchaser(s) or subsequent purchaser(s) of the Debtors’ assets, including purchaser(s)

         or subsequent purchaser(s) of the Continuing Fee Election itself, cannot use the Bang Mark

         in accordance with the terms of the Award, as confirmed by the District Court and

         subsequently entered as the Judgment.

    b) confirming through a declaratory judgment that the Continuing Fee Election is fully

         transferable without the consent of Defendants.

    c) granting such other and further relief as the Court deems just and proper.

 Dated: February 17, 2023                                   Respectfully submitted,
        Miami, Florida
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